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14                                UNITED STATES DISTRICT COURT

15                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17    AMERICAN FEDERATION OF                         Case No. 3:25-cv-01780-WHA
18    GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                   PLAINTIFFS’ MOTION FOR
19    COUNTY AND MUNICIPAL EMPLOYEES,                ADMINISTRATIVE RELIEF TO EXCEED
      AFL-CIO, et al.,                               PAGE LIMITATION FOR
20                                                   MEMORANDUM IN SUPPORT OF EX
               Plaintiffs,                           PARTE MOTION FOR TEMPORARY
21                                                   RESTRAINING ORDER AND ORDER TO
          v.                                         SHOW CAUSE
22

23    UNITED STATES OFFICE OF PERSONNEL              Civil Local Rule 7-11
      MANAGEMENT, et al.,
24
               Defendants.
25

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     PLS’ MOTION FOR ADMIN. RELIEF TO EXCEED PAGE LIMIT FOR MEM. ISO TRO, No. 3:25-cv-01780-WHA
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1           Plaintiffs American Federation of Government Employees, AFL-CIO, et al. hereby

2    respectfully submit this Motion for Administrative Relief, pursuant to Civil Local Rule 7-11, to

3    exceed the page limitation applicable to Plaintiffs’ Memorandum in Support of Ex Parte Motion for

4    Temporary Restraining Order and Order to Show Cause, which is being filed today. Plaintiffs seek an

5    additional five (5) pages for their memorandum. Plaintiffs have been unable to reach counsel for

6    Defendants to determine if they will stipulate to the requested relief.

7           In support of their request, Plaintiffs provide the following showing of good cause:

8           1.      Plaintiffs’ Ex Parte Motion for Temporary Restraining Order involves constitutional

9    and statutory claims in a case of national importance, as well as extensive evidence of irreparable

10   harm, the standing of ten different plaintiff organizations, and other factual and equitable issues.

11          2.      Plaintiffs have been diligent in drafting their motion and supporting papers, in

12   conformity with the format and content mandated by the Court, and have attempted to shorten the

13   length of the brief as much as possible. Plaintiffs have also been working as swiftly as possible to

14   present these issues to the Court. However, Plaintiffs require an additional five (5) pages in order to

15   fully address the complex factual and legal background for the Court, particularly given the rapidly

16   developing factual circumstances.

17          3.      It was not possible to reach Defendants to seek their consent to this motion. The

18   Complaint was filed on the evening of February 19, 2025. In order to provide notice of this action to

19   the Defendants as quickly as possible, on February 20, 2025, Plaintiffs’ counsel emailed the

20   complaint and supporting documents to all attorneys who could be identified through PACER at the

21   U.S. Department of Justice who have represented the Office of Personnel Management and Acting

22   OPM Director Charles Ezell in other very recent cases. Declaration of Eileen B. Goldsmith in

23   Support of Plaintiffs’ Application for Temporary Restraining Order ¶2. None of the U.S. Department

24   of Justice attorneys contacted have responded since February 20. Id. ¶3. Thus, a stipulation to the

25   present motion could not be obtained from opposing counsel. Id. ¶5.

26          On the basis of the foregoing showing of good cause, Plaintiffs respectfully request this Court

27   to permit them to file the accompanying Memorandum in support of the Ex Parte Motion for

28   Temporary Restraining Order and Order to Show Cause of 30 pages.

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     PLS’ MOTION FOR ADMIN. RELIEF TO EXCEED PAGE LIMIT FOR MEM. ISO TRO, No. 3:25-cv-01780-WHA 3
